Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 1 of 15

MCL 600.2912b AMENDED NOTICE OF INTENT TO FILE CLAIM

This Notice is intended to apply to the following health care professionals, entities,
and/or facilities as well as their employees and/or agents, actual or ostensible, thereof,
who were involved in the treatment of Edward Adams.

John Chaitas, M.D.
135 S. Prospect St.
Ypsilanti, Ml 48198-7914

Louis Bojrab, M.D.
3520 Green Ct. Ste 100
Ann Arbor, MI 48105-1566

Michigan Surgery Center, LLC
c/o Louis Bojrab

3520 Green Ct. Ste 100

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Michigan Pain Specialists, PLLC
c/o John Chatas

135 S$. Prospect St.

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Michigan Pain Specialists, P.C.
c/o John Chatas

15632 Troon Ct.

Northville, Ml 48168-8477

Michigan Pain Specialists
c/o John Chatas

135 S. Prospect St.
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Painless Chelsea Services, LLC
c/o John Chatas

3520 Green Ct. Ste 100

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Ann Arbor Surgery Center, PLLC
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Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 2 of 15

PROFESSIONAL CORPORATION AND ANY AND ALL PROFESSIONAL
CORPORATIONS, AS WELL AS AGENTS, EMPLOYEES, ACTUAL OR
OSTENSIBLE THEREOF

FACTUAL BASIS FOR CLAIM

After sustaining a back injury at work, Edward Adams was referred to Michigan
Pain Specialists where, intermittently, he received steroid injections for back pain. On
July 31, 2012, Dr. John Chatas of Michigan Pain Specialists administered an injection
and on August 13, 2012 and October 1, 2012, Dr. Louis Bojrab of Michigan Pain
Specialists also administered injections. All treatment was provided at the Brighton clinic
of Michigan Pain Specialists. Drs Chatas and Dr. Bojrab were both anesthesiologists
who represented to Mr. Adams that these injections would relieve his back pain. In
addition to being anesthesiologists, Drs. Chatas and Bojrab also had Michigan
dispensing licenses which effectively allowed them to act as pharmacists. Mr. Adams
was not aware that Michigan Pain Specialists purchased their steroid injections in bulk
from a compounding pharmacy in Massachusetts, the New England Compounding
Company (hereinafter NECC). Neither Dr. Chatas or Dr. Bojrab, or anyone else at
Michigan Pain Specialists informed him of this. He did not know that the law required
pain clinics to provide patient specific prescriptions for steroid injections and required the
compounding pharmacies to only supply such medication if it had patient specific
prescriptions.

Furthermore, Mr. Adams did not know that bulk sales/purchases of this steroid
from a compounding company were unlawful. Mr. Adams was unaware that in

December, 2006, the FDA had issued a warning letter to NECC regarding problems at

Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 3 of 15

their company with respect to the sale of compounded drugs without patient specific
prescriptions, problems with storage and sterility and other problems. That warning letter
has been posted on the FDA's website and was available for Michigan Pain Specialists
and/or its physicians to review any time it wished. As a patient, following the advice of
trained physicians, Edward Adams believed that these injections were safe and not
contaminated. The Michigan Pain Specialists and their physicians Dr. John Chatas and
Dr. Louis Bojrab represented to Edward Adams that they would only administer
medication which was prescribed for him and was safe, non-contaminated and designed
to treat/cure his illness, not cause him to contract a deadly disease.

In September 2012, health officials identified an outbreak of fungal meningitis
which was traced to the steroid injections compounded by NECC. Mr. Adams never
received a call from Michigan Pain Specialists informing him of this discovery.

On or about September 15, 2012, Mr. Adams developed headache, photophobia
and stiff neck. When he called Michigan Pain Specialists, a recording told him to go to
St. Josephs Hospital in Ypsilanti. On October 8, 2012, with symptoms worsening, Mr.
Adams went to St. Josephs Emergency Room where a lumbar puncture was performed.
Mr. Adams was given pain medication and discharged. On October 10, 2012, Mr. Adams
went to Oakwood South Shore Emergency Room for pain and was transferred by
ambulance to St. Joseph Hospital. When he had not been seen by 9:00 p.m. Mr. Adams
went home.

On October 11, 2012, Mr. Adams attempted to go to work. However, his
headache and photophobia was so severe, he retumed to St. Joseph’s Emergency
Room. A second lumbar puncture was performed and he was admitted to the hospital.

3

Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 4 of 15

He began treatment with intravenous anti-fungal medications which caused serious
mental complications and liver failure and therefore had to be discontinued. He remained
hospitalized until October 21, 2012. The CDC recommended that he have lumbar
punctures every week for two months and they were performed on November 2nd,
November 9th and November 16th. Mr. Adams was diagnosed as having a fungal
abscess on his spine and had surgery. Following the surgery, he developed an infection
and had to have a second surgery. Mr. Adams continued to have problems with wound
healing and infection and on March 16, 2013, he had a third surgery. He still has an
open wound.

Mr. Adams was unable to work from October 12, 2012 until May 15, 2013.

APPLICABLE STANDARD OF PRACTICE OR CARE ALLEGED
PHYSICIAN
The standard of care requires that a reasonable and prudent physician such as Dr.
Chatas or Dr. Bojrab who were caring for a patient such as Edward Adams would:

a. Be aware of the multiple problems discovered with compounding pharmacies
and recognize that the drugs they provided were not FDA approved;

b. Recognize that because compounding pharmacies are not subject to the same
regulations as drug manufacturers, the physicians had a duty to ensure that
drugs they purchased from these compounding pharmacies were safe for
administration to patients;

c. Be aware of the serious risks of pharmacy compounding which had been
brought to the health professionals’ attention years prior to 2012 in hearings in
the Senate and in prominent articles in the national media e.g. March 24, 2005
article in USA Today “Safety Concerns Grow Over Pharmacy Mixed
Drugs”; FDA published article, May 2007, “The Special Risks of Pharmacy
Compounding” ;

Case 1:13-

md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 5 of 15

Recognize that the American Society of Anesthesiologists, the American
Society of Health-System Pharmacies and other medical societies had
published a joint report which highlighted the increased risks to patients who
use drugs from compounding pharmacies including death. The report noted
that several deaths had been associated with improperly — sterilized
compounded products;

Recognize that compounding pharmacies are only permitted to provide
medication based upon patient specific prescriptions;

Refrain from administering a steroid injection from a compounding pharmacy
unless it was certain that the medication had been prescribed and prepared for
a specific patient and/or was prepared in a manner which would leave it un-
contaminated;

Be aware that in May 2012, the CDC published a report regarding fungal
infections arising from medications obtained from a compounding pharmacy;

Be aware of and follow Guidelines published by the American Society of Health
System Pharmacists (ASHP) which warned of the risks of using compounded
drugs and the need to carefully evaluate such drugs and pharmacies which
were producing them;

Recognize that if compounding pharmacies were selling drugs at a greatly
reduced price from that of manufacturers who are regulated by the FDA it was
likely that the quality of these drugs was inferior to those manufactured by FDA
regulated drug companies;

Fully evaluate the safety record of the compounding pharmacy it was
purchasing drugs from including, investigating whether it had ever been subject
to warnings or negative actions from any regulatory body, including the FDA;

Inform their patients that they were administering drugs which were not FDA
approved and were not manufactured by an FDA regulated drug company but
rather were cheap substitutes provided by a compounding company which had
never been evaluated for safety; and,

Be aware that the compounded drugs from NECC did not have preservatives
and were thus at greater risk to develop bacterial or fungal growth and inform
patients of this.

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Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 6 of 15

The standard of care required of the institutional entities Michigan Pain Specialists,
PLLC et al are vicarious and are based on the standard of care set forth for the provider

identified above in this section.

MICHIGAN PAIN SPECIALISTS, PLLC, ET AL

The standard of care of a reasonable clinic/corporation providing pain treatment

requires that it:

Ensure that all medications administered to patients had a patient specific
prescription;

Ensure that all drugs purchased from a compounding pharmacy were
compounded in a safe manner so as to prevent contamination of the drugs
being administered to the patients;

Evaluate the safety history and reputation of the compounding pharmacy they
were purchasing drugs from including investigating NECC’s regulatory history
with the FDA and/or the Massachusetts Board of Registration in Pharmacy,

Determine whether NECC had a history of adverse events, complaints, and/or
product liability suits before procuring spinal injection medications from them;

Maintain current awareness of the dangers of sterile compounding and
recommended practices related to the acquisition and administration of
compounded sterile products, particularly those that are preservative free
and/or heed all prudent and recommended practices;

Refrain from purchasing compounded injectable steroids from an unaccredited
compounding pharmacy;

Recognize that if a compounding pharmacy was selling drugs at a deeply
discounted price as opposed to FDA regulated drug companies, there was
increased risk regarding the quality of these drugs;

Conduct an adequate investigation of the compounding pharmacy to ensure
that the drugs it was selling at a deep discount were of equal quality as those
sold by FDA regulated manufacturers and/or implement policies and
procedures that would prevent procurement of purportedly sterile injectable
medications from an out-of state compounding pharmacy with deplorable

6

Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 7 of 15

sterility procedures, a checkered regulatory past, product recall problems, and
a history of adverse events and product liability suits; and,

Submit bills which reasonably reflected the deeply discounted price it was
paying for the bulk steroids it was injecting into patients.

MANNER IN WHICH IT IS GLAIMED THAT THE APPLICABLE
STANDARD OF PRACTICE OR CARE WAS BREACHED

The physicians failed to comply with the applicable standard of care in as much as

they failed to:

a.

Be aware of the multiple problems discovered with compounding pharmacies
and recognize that the drugs they provided were not FDA approved;

Recognize that because compounding pharmacies are not subject to the same
regulations as drug manufacturers, the physicians had a duty to ensure that
drugs they purchased from these compounding pharmacies were safe for
administration to patients;

Be aware of the serious risks of pharmacy compounding which had been
brought to the health professionals’ attention years prior to 2012 in hearings in
the Senate and in prominent articles in the national media e.g. March 24, 2005
article in USA Today “Safety Concerns Grow Over Pharmacy Mixed
Drugs”; FDA published article, May 2007, “The Special Risks of Pharmacy
Compounding” ;

Recognize that the American Society of Anesthesiologists, the American
Society of Health-System Pharmacies and other medical societies had
published a joint report which highlighted the increased risks to patients who
use drugs from compounding pharmacies including death. The report noted
that several deaths had been associated with improperly sterilized
compounded products;

Recognize that compounding pharmacies are only permitted to provide
medication based upon patient specific prescriptions;

Refrain from administering a steroid injection from a compounding pharmacy
unless he was certain that the medication had been prescribed and prepared
for a specific patient and/or was prepared in a manner which would feave it un-
contaminated;

Case 1:13-md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 8 of 15

g. Be aware that in May 2012, the CDC published a report regarding fungal
infections arising from medications obtained from a compounding pharmacy;

h. Be aware of and follow Guidelines published by the American Society of Health
System Pharmacists (ASHP) which warned of the risks of using compounded
drugs and the need to carefully evaluate such drugs and pharmacies which
were producing them;

i. Recognize that if compounding pharmacies were selling drugs at a greatly
reduced price from that of manufacturers who are regulated by the FDA it was
likely that the quality of these drugs was inferior to those manufactured by FDA
regulated drug companies;

j. Fully evaluate the safety record of the compounding pharmacy he was
purchasing drugs from including, investigating whether it had ever been subject
to warnings or negative actions from any regulatory body, including the FDA;

k. Inform his patients that he was administering drugs which were not FDA
approved and were not manufactured by an FDA regulated drug company but
rather were cheap substitutes provided by a compounding company which had
never been evaluated for safety; and,

|. Be aware that the compounded drugs from NECC did not have preservatives
and were thus at greater risk to develop bacterial or fungal growth and inform
patients of this.

The breach of the standard of care by the institutional entities, Michigan Pain

Specialists, PLLC et al are vicarious and are the same as the breaches of the standard of

care set forth for the provider identified above in this section.

MIGHIGAN PAIN SPECIALISTS, PLLC, ET AL

The breach of the standard of care of a reasonable clinic/corporation providing
pain treatment was that it failed to:

a. Ensure that all medications administered to patients had a patient specific
prescription;

b. Ensure that all drugs purchased from a compounding pharmacy were
compounded in a safe manner so as to prevent contamination of the drugs
being administered to the patients;

8

Case 1:13-

md-02419-RWZ. Document 668-2 Filed 12/20/13 Page 9 of 15

Evaluate the safety history and reputation of the compounding pharmacy they
were purchasing drugs from including investigating NECC’s regulatory history
with the FDA and/or the Massachusetts Board of Registration in Pharmacy;

Determine whether NECC had a history of adverse events, complaints, and/or
product liability suits before procuring spinal injection medications from them;

Maintain current awareness of the dangers of sterile compounding and
recommended practices related to the acquisition and administration of
compounded sterile products, particularly those that are preservative free
and/or heed all prudent and recommended practices;

Refrain from purchasing compounded injectable steroids from an unaccredited
compounding pharmacy;

Recognize that if a compounding pharmacy was selling drugs at a deeply
discounted price as opposed to FDA regulated drug companies, there was
increased risk regarding the quality of these drugs;

Conduct an adequate investigation of the compounding pharmacy to ensure
that the drugs it was selling at a deep discount were of equal quality as those
sold by FDA regulated manufacturers and/or implement policies and
procedures that would prevent procurement of purportedly sterile injectable
medications from an out-of state compounding pharmacy with deplorable
sterility procedures, a checkered regulatory past, product recall problems, and
a history of adverse events and product liability suits; and,

Submit bills which reasonably reflected the deeply discounted price it was
paying for the bulk steroids it was injecting into patients.

' THE ACTION THAT SHOULD HAVE BEEN TAKEN TOACHIEVE

COMPLIANCE WITH THE STANDARD OF PRACTICE OR CARE

The physicians failed to do what was described as required in Sections 2 and 3

above in breach of the standard of care. More specifically, they should have:

a.

Been aware of the multiple problems discovered with compounding
pharmacies and recognize that the drugs they provided were not FDA
approved;

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Pase 1:13-md-02419-RWZ .Document 668-2 Filed 12/20/13 Page 10 of 15

. Recognized that because compounding pharmacies are not subject to the

same regulations as drug manufacturers, he had a duty to ensure that drugs
purchased from these compounding pharmacies were safe for administration
to patients;

. Been aware of the serious risks of pharmacy compounding which had been

brought to the health professionals’ attention years prior to 2012 in hearings in
the Senate and in prominent articles in the national media e.g. March 24, 2005
article in USA Today “Safety Concerns Grow Over Pharmacy Mixed
Drugs”; FDA published article, May 2007, “The Special Risks of Pharmacy
Compounding” ;

. Recognized that the American Society of Anesthesiologists, the American

Society of Health-System Pharmacies and other medical societies had
published a joint report which highlighted the increased risks to patients who
use drugs from compounding pharmacies including death. The report noted
that several deaths had been associated with improperly _ sterilized
compounded products;

. Recognized that compounding pharmacies are only permitted to provide

medication based upon patient specific prescriptions;

Refrained from administering a steroid injection from a compounding
pharmacy unless he was certain that the medication had been prescribed and
prepared for a specific patient and/or was prepared in a manner which would
leave it un-contaminated;

. Been aware that in May 2012, the CDC published a report regarding fungal

infections arising from medications obtained from a compounding pharmacy;

. Been aware of and followed Guidelines published by the American Society of

Health System Pharmacists (ASHP) which warned of the risks of using
compounded drugs and the need to carefully evaluate such drugs and
pharmacies which were producing them;

Recognized that if compounding pharmacies were selling drugs at a greatly
reduced price from that of manufacturers who are regulated by the FDA it was
likely that the quality of these drugs was inferior to those manufactured by
FDA regulated drug companies;

Fully evaluated the safety record of the compounding pharmacy he was
purchasing drugs from including, investigating whether it had ever been
subject to warnings or negative actions from any regulatory body, including
the FDA;

10

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(ase 1:13-md-02419-RWZ .Document 668-2 Filed 12/20/13 Page 11 of 15

Informed his patients that he was administering drugs which were not FDA
approved and were not manufactured by an FDA regulated drug company but
rather were cheap substitutes provided by a compounding company which
had never been evaluated for safety: and,

Been aware that the compounded drugs from NECC did not have
preservatives and were thus at greater risk to develop bacterial or fungal
growth and informed patients of this.

Since the breach of the standard of care by the institutional entities, Michigan Pain
Specialists, PLLC, et al are vicarious the actions it should have taken are those set forth

for the providers.

MICHIGAN PAIN SPECIALISTS, PLLC, ET AL

The actions the clinic/corporation should have taken in order to comply with the
standard of care of a reasonable clinic/corporation providing pain treatment were: It

should have:

Made sure that all medications administered to patients had a patient specific
prescription;

Made sure that all drugs purchased from a compounding pharmacy were
compounded in a safe manner so as to prevent contamination of the drugs
being administered to the patients;

Evaluated the safety history and reputation of the compounding pharmacy they
were purchasing drugs from including investigating NECC’s regulatory history
with the FDA and/or the Massachusetts Board of Registration in Pharmacy;

Determined whether NECC had a history of adverse events, complaints, and/or
product liability suits before procuring spinal injection medications from them;

Maintained current awareness of the dangers of sterile compounding and
recommended practices related to the acquisition and administration of
compounded sterile products, particularly those that are preservative free
and/or heed all prudent and recommended practices;

Refrained from purchasing compounded injectable steroids from an
unaccredited compounding pharmacy;

11

(ase 1:13-md-02419-RWZ .Document 668-2 Filed 12/20/13 Page 12 of 15

g. Recognized that if a compounding pharmacy was selling drugs at a deeply
discounted price as opposed to FDA regulated drug companies, there was
increased risk regarding the quality of these drugs;

h. Conducted an adequate investigation of the compounding pharmacy to ensure
that the drugs it was selling at a deep discount were of equal quality as those
sold by FDA regulated manufacturers and/or implemented policies and
procedures that would prevent procurement of purportedly sterile injectable
medications from an out-of state compounding pharmacy with deplorable
sterility procedures, a checkered regulatory past, product recall problems, and
a history of adverse events and product liability suits; and,

i. Submitted bills which reasonably reflected the deeply discounted price it was

paying for the bulk steroids it was injecting into patients.

THE MANNER IN WHICH THE BREACH WAS THE
PROXIMATE CAUSE OF CLAIMED INJURY

Defendants’ failure to recognize the significant risks associated with compounding
pharmacies and specifically their failure to do any investigation whatsoever of the
conditions, safety, or practices at NECC led them to purchase contaminated drugs which
they then injected in Edward Adams causing him to develop fungal meningitis and a
fungal abscess. Their failure to recognize that since NECC was selling them drugs in
bulk at prices which were substantially lower than those charged by FDA regulated drug
companies, the quality of these drugs was likely to be inferior to those sold by FDA
regulated companies. Likewise, their purchase of these drugs in bulk should have led
them to know the drugs were not being compounded based upon a patient specific
prescription as required by Michigan law. As a result of their failure to act reasonably
when purchasing and administering drugs, Edward Adams was administered a steroid
injection which was contaminated with a fungus. He required prolonged hospitalization
and, prolonged treatment with dangerous anti-fungal medication which caused serious

12

Ikase 1:13-md-02419-RWZ .Document 668-2 Filed 12/20/13 Page 13 of 15

side effects. He was required to have three surgeries on his back and still has an open
wound. He was unable to work for seven months. He continues to require expensive,

potentially dangerous medication.

NAME OF HEALTH PROFESSIONALS, ENTITIES AND FACILITIES NOTIFIED

John Chatas, M.D.
135 S. Prospect St.
Ypsilanti, Ml 48198-7914

Louis Bojrab, M.D.
3520 Green Ct. Ste 100
Ann Arbor, Ml 48105-1566

Michigan Surgery Center, LLC
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13

(ase 1:13-md-02419-RWZ .Document 668-2 Filed 12/20/13 Page 14 of 15

Ann Arbor Surgery Center, PLLC
c/o John Chatas

3520 Green Ct. Ste 100

Ann Arbor, Ml 48105-1566

Professional Corporations and any and all employees and/or agents, actual or
ostensible, thereof

TO THOSE RECEIVING NOTICE: YOU SHOULD FURNISH THE NOTICE TO ANY
PERSON, ENTITY, OR FACILITY NOT SPECIFICALLY NAMED HEREIN THAT YOU
REASONABLY BELIEVE MIGHT BE ENCOMPASSED IN THIS CLAIM

Respectfully Submitted,

CHARFOOS & CHRISTENSEN, P.C.

By: J. Douglas Peters (P25686)
Ann K. Mandt (P46314)
Attorneys for Plaintiff

5510 Woodward Avenue
Detroit, MI 48202

(313) 875-8080

DATED: October 11, 2013

PROOF OF SERVICE

The undersigned, being first duly sworn, deposes and says that on the 15th day of
October, 2013, she served a copy of the AMENDED NOTICE OF INTENT TO FILE CLAIM
by enclosing same in envelopes fully addressed to:

John Chatas, M.D.
135 S. Prospect St.
Ypsilanti, Ml 48198-7914

14

base 1:13-md-02419-RWZ .Document 668-2 Filed 12/20/13 Page 15 of 15

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Ann Arbor Surgery Center, PLLC
c/o John Chatas
3520 Green Ct. Ste 100
Ann Arbor, MI 48105-1566
with first class postage fully prepaid thereon and deposited same in the United States Mail

in Detroit, Michigan.

CLAUDIA M. SIDDALL

15

